Case 2:14-cv-04541-CAS-RZ Document 45 Filed 02/25/16 Page 1 of 1 Page ID #:386




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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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 10 KOOROS SHIMY, individually;                  Case No. 2:14-cv-04541 CAS (RZx)
    MARSHA SHIMY, individually,
 11                                              [PROPOSED] ORDER RE JOINT
            Plaintiffs,                          MOTION TO DISMISS ENTIRE
 12                                              ACTION
            vs.
 13 WRIGHT MEDICAL TECHNOLOGY,                   JUDGE:         Christina A. Snyder
                                                 DEPT.:         5
 14 INC., a Delaware corporation; and
    WRIGHT MEDICAL GROUP, INC., a
 15 Delaware   corporation; ADVANCED
    SURGICAL DEVISES, INC., a
 16 California Corporation; WILLIAM
    ZUROWSKI, an individual; and DOES
 17 1 through 50,
 18               Defendants.

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 20        On February 24, 2016, the parties jointly submitted a Joint Motion for
 21 Dismissal to the Court. Accordingly, the matter is dismissed with prejudice in its
 22 entirety. Each party to bear their respective costs, including any possible attorney
 23 fees or other expenses of litigation.
 24
 25 DATED: February 25, 2016
                                            Christina A. Snyder
 26                                         United States District Judge
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